                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                               Case No. CR05-1021
 vs.                                          REPORT AND RECOMMENDATION
 MICHAEL THOMAS GATENA and
 CARLA GRACE ENGLER,
               Defendants.
                                ____________________


       This matter comes before the court pursuant to Defendant Carla Grace Engler’s
August 25, 2005 motion to suppress evidence (docket number 49). The motion was
referred to the undersigned United States Magistrate Judge for issuance of a report and
recommendation. It is recommended that the defendant’s motion to suppress (docket
number 49) be denied in part, and ruling be reserved in part, as set forth below.
                                 I. INTRODUCTION
       The defendant’s motion to suppress arises out of several search and seizure
incidences, including three warrantless vehicle searches. The defendant asserts that the
“admission of any items seized during the searches and seizures would violate [the
defendant’s] rights under the 4th Amendment to the United States Constitution to be free
from unreasonable searches and seizures.” The defendant further asserts that “[a]ny
statements that may have been made by [the defendant] following or during the search[es]
were obtained as a result of invalid and unconstitutional searches, and must be suppressed
as ‘fruit of the poisonous tree.’”    According to the defendant, the searches “were
conducted without reasonable grounds to believe, or without particularized suspicion of
any criminal activity,” and without the consent of the defendant.

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        Hearing will be set on the defendant’s challenges to the warrantless searches of
vehicles taking place on December 30, 2004, January 30, 2005, and June 5, 2005. The
court sets forth the factual background for the searches conducted pursuant to warrants in
turn.
                            II. FACTUAL BACKGROUND
             A. November 18, 2004 Search and Seizure Pursuant to Warrant
        The first search and seizure incident challenged by the defendant involved a search
of the defendant’s residence conducted pursuant to a warrant on November 18, 2004. The
search occurred at 101 E. 29th Street, Dubuque, Iowa. The search warrant application
indicates that the warrant was for a search of the defendant’s residence for items including
methamphetamine, other controlled substances, chemicals and apparatus used in the
manufacture of methamphetamine, addresses and/or telephone books and papers reflecting
names, addresses and/or telephone numbers, and any weapons, firearms, ammunition or
explosives. The search warrant application was submitted with an affidavit in support of
the application. The affiant was Investigator D. Haupert, a police officer with the
Dubuque Drug Task Force. The affidavit states that within the preceding eleven months,
investigators had received intelligence from multiple sources to the effect that:
              (1)    Michael Gatena and [the defendant] manufacture
                     methamphetamine at 11294 Rock Grove Court #5,
                     within the garage assigned to that apartment . . .
              (2)    On 1/13/04 Investigators received information from a
                     confidential informant that Gatena sold
                     methamphetamine to them and the informant could
                     smell . . . a methamphetamine cook in progress.
              (3)    On 8/24/04 Investigators received information from a
                     confidential informant that [Michael] Gatena uses [the
                     defendant] to obtain materials commonly used during
                     the manufacture of methamphetamine.
              (4)    On 9/28/04 a Dubuque County Deputy was dispatched
                     to 11294 Rock Grove Court after a report that
                     [Michael] Gatena [was] burning items in the yard. The


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                     deputy observed several burnt and unburned
                     matchbooks with the striker plates removed.
              (5)    On 10/18/04 Investigators received information from a
                     confidential informant that [Michael] Gatena [was] still
                     cooking at his residence and [was] associated with [the
                     defendant].
              (6)    On 10/25/04 an informant told investigators they had
                     received methamphetamine from [Michael] Gatena and
                     stated that he cooks methamphetamine in his basement.
              (7)    On 11/04/04 Investigators received information from a
                     confidential informant that [Michael] Gatena cooks
                     methamphetamine in a side room in the basement and
                     described [the room] as being under the stairs.
              (8)    On numerous occasions within the [preceding] 60 days
                     [the defendant] purchased several bottles of Heet
                     gasoline additive from Eichmans Convenience Store in
                     Sageville, Iowa.
              (9)    That within the [preceding] 48 hours Investigators . . .
                     received additional information from a confidential
                     informant that [Michael] Gatena and [the defendant] are
                     actively involved in the manufacture of
                     methamphetamine and pre-cursors . . . [and that the
                     defendant] processes iodine into iodine crystals which
                     are then used during the red phosphorous method of
                     manufacturing methamphetamine.
              (10)   The confidential informant [reported] that [Michael
                     Gatena] was at [the defendant’s residence] and picked
                     up iodine crystals, red phosphorous and
                     pseudoephedrine . . . and stated “I’m going home
                     now.” The informant also stated that [the defendant]
                     had numerous cases of matches, several bottles of Heet
                     gasoline additive and glassware at her residence. The
                     informant also [reported] that they observed [the
                     defendant] process the iodine into iodine crystals on
                     11/17/04 at her residence.
The Magistrate Judge determined that the information supplied by the confidential
informants appeared credible because sworn testimony indicated that at least one informant
had given reliable information on previous occasions. The Magistrate further noted that
“[b]oth informants appear credible because it is in their best interests to provide reliable

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information,” that the informant had supplied information in the past multiple times, that
the informant had not given false information in the past, and that the information supplied
by the informant in the investigation had been corroborated.
                        B. December 30, 2004 Search and Seizure
         The second incident challenged by the defendant was a search of the defendant’s
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residence conducted pursuant to a search warrant, occurring on December 30, 2004. The
December 30, 2004 search warrant application was for the search of “[t]he residence of
[the defendant] an Michael Thomas Gatena at 101 East 29th Street, Dubuque, Iowa.” Like
the search warrant executed on November 18, 2004, the search was for items including
methamphetamine, any and all other controlled substances, chemicals and apparatus used
in the manufacture of methamphetamine, addresses and/or telephone books and papers
reflecting names, addresses and/or telephone numbers, and any weapons, firearms,
ammunition or explosives. Investigator Haupert again served as the affiant in support of
the application for search warrant, and stated by affidavit, in relevant part:
               On 12/30/04 . . . Deputy Schultz of the Dubuque County
               Sheriff Office was on routine patrol . . . and observed a
               vehicle with the passenger door standing open with nobody
               around. The vehicle was . . . registered to Michael Gatena.
               Upon further investigation Deputy Schultz noticed
               approximately 7 large black garbage bags in the open bed of
               the truck . . . . Deputy Schultz advised that he could see in
               plain view several hundred “Diamond” brand matchbooks with
               the striker plates removed, six bottles of “HEET” gasoline
               additive, and a paper plate . . . Deputy Schultz is a certified
               clandestine laboratory investigator and through his training and
               experience knew that these items are consistent with the
               manufacture of methamphetamine . . . .



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       The defendant also challenges a warrantless search of Michael Gatena’s pickup,
which occurred prior to the issuance of a search warrant for the defendant’s residence on
December 30, 2004. The court will consider the defendant’s challenges to this warrantless
search at an evidentiary hearing, to be scheduled.

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                The Dubuque Drug Task Force has received several
                intelligence reports in the past indicating that Michael Gatena
                is involved in the manufacture of methamphetamine.
                Additionally, on 11/18/04 a search warrant was executed at the
                Gatena residence [at 101 E. 29th Street] after information was
                received that he had been manufacturing methamphetamine.
                During that search . . . a complete red phosphorous laboratory
                was located. [Michael] Gatena has also been charged in the
                past for controlled substance violations to include possession
                of methamphetamine pre-cursors. During the search of the
                vehicle, Investigators located several garbage bags. One of
                these bags contained several purple and red stained paper
                plates, rubber gloves and paper towels as well as several
                hundred soaked matchbook striker plates with the red
                phosphorous removed . . . . Also in the bag was a City of
                Dubuque utility bill . . . addressed to Michael Gatena at 101
                East 29th Street . . . and a Mediacom bill . . . addressed to
                [the defendant] at 101 East 29th Street . . .

                The Dubuque Drug Task Force has received several
                intelligence reports in the past indicating [the defendant] is
                involved in the manufacture of methamphetamine.
                Additionally, on 11/18/04 a search warrant was executed at the
                Gatena residence at which time subjects in the residence were
                actively stripping the striker plates from matchbooks. Also
                during that search investigators located iodine crystals and
                methamphetamine. On 12/29/04 investigators also received
                information that the defendant was observed operating the . . .
                pickup . . . registered to [Michael] Gatena.
         The warrant application noted that it did not rely upon information by a confidential
informant.
                             C. June 5, 2005 Search and Seizure
         Finally, the defendant challenges a search of her residence, conducted pursuant to
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a search warrant, which occurred on June 5, 2005.          The June 5, 2005 application for


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       The defendant also challenges a search of the minivan parked at her residence which
                                                                             (continued...)

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search warrant indicates that the warrant was for the search of the defendant’s residence
“at 101 East 29th Street and the common basement and a Green 1995 Oldsmobile minivan
registered to Heather Lynn Avenarius . . . parked directly in front of” the defendant’s
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residence. Again, the search warrant was for items including methamphetamine, any and
all other controlled substances, chemicals and apparatus used in the manufacture of
methamphetamine, addresses and/or telephone books, and any weapons, firearms,
ammunition or explosives. Investigator Haupert again served as the affiant for the warrant
application. Investigator Haupert attested to the following:
              On June 5, 2005 . . . Officer Baker . . . observed a [g]reen
              Oldsmobile minivan with the side sliding door and front
              passenger door open while it was illegally parked directly in
              front of [the defendant’s residence] . . . . Officer Baker saw
              that there were two one-gallon containers of unknown
              substances in anti-freeze bottles sitting in the street next to the
              open door of the minivan . . . . Officer Baker also knows that
              [the defendant] lives at 101 East 29th Street and that through
              his monthly intelligence information he knows that she is a
              manufacturer of methamphetamine.

              During the investigation . . . Officer Roy responded with his
              K-9. The K-9 subsequently indicated on the van for the
              presence of illegal substances. After the K-9 indicated on the
              van a search was conducted. During that search officers
              located a cardboard box containing 14 bottles of hydrogen
              peroxide and a full gallon of strong iodine. Officers knew
              through their training and experience . . . that hydrogen


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      (...continued)
occurred prior to the officers seeking a warrant for the minivan, registered to Heather
Avenarius. This initial search comprised of police surveillance of items associated with
the manufacture of methamphetamine viewed through the open minivan sliding door,
followed by a sweep of the exterior or interior of the vehicle with a K-9, which indicated
on the van for the presence of illegal substances. The court will consider the defendant’s
challenges to this warrantless search at an evidentiary hearing, to be scheduled.



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              peroxide and strong iodine are used during the manufacture of
              methamphetamine via the red phosphorous method.

              During the . . . investigation Officer Roy located a neighbor
              . . . [who] told [Officer Roy] that just prior to Officer Baker’s
              arrival in the area . . . he observed the female who he knows
              to live at 101 East 29th Street going in and out of the . . .
              minivan . . . and then going in and out of [the residence] ‘with
              the funky rug’ on more than one occasion. [The neighbor]
              described the [resident] as a white female with blonde hair
              with a tan complexion wearing pink shorts and a black top.
              This description matches that of [the defendant].

              In April of 2005 investigators . . . received intelligence that
              [the defendant] was selling iodine crystals to Dal Darland for
              the manufacture of methamphetamine via the red phosphorous
              method. In May of 2005 investigators . . . received
              intelligence information that [the defendant] was preparing red
              phosphorous, a pre-cursor for the manufacture of
              methamphetamine for herself.
The affidavit also describes the searches executed on November 17, 2004 and December
30, 2004 in an effort to establish probable cause for issuance of the June 5, 2005 warrant.

                             III. CONCLUSIONS OF LAW
                         The Search Warrants: Franks Challenge
       The defendant contends that “after excluding the false and misleading materials
contained in the search warrant request[s], the remaining information was insufficient to
establish probable cause for the search warrant[s].” Put simply, the defendant challenges
the sufficiency of the warrants based on the standard set forth in Franks v. Delaware,
438 U.S. 154 (1978).
       This court employs the standard set forth by the United States Supreme Court in
Illinois v. Gates, 462 U.S. 213 (1983), to determine the existence of probable cause
because the evidence that the defendant seeks to suppress was gathered pursuant to a search
warrant. It is well established that a warrant affidavit must show particular facts and


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circumstances in support of the existence of probable cause sufficient to allow the issuing
judicial officer to make an independent evaluation of the application for a search warrant.
United States v. Riedesel, 987 F.2d 1383, 1390 (8th Cir. 1993) (citing Gates, 462 U.S.
at 238). The duty of the judicial officer issuing a search warrant is to make a “practical,
commonsense decision” as to whether a reasonable person would suspect the discovery of
evidence based upon the totality of the circumstances. Gates, 462 U.S. at 238; Riedesel,
987 F.2d at 1390; United States v. Peterson, 867 F.2d 1110, 1113 (8th Cir. 1989).
Sufficient information must be presented to the issuing judge to allow that official to
determine probable cause; his actions cannot be a mere ratification of the bare conclusions
of others. Gates, 462 U.S. at 239. However, it is clear that only the probability, not a
prima facie showing, of criminal activity is required to establish probable cause. Id. at
235.
       This court does not review the sufficiency of an affidavit de novo. A reviewing
court should pay great deference to an issuing judge’s determination of probable cause.
Id. at 236. The duty of the reviewing court is simply to ensure that the issuing judge had
a substantial basis for concluding that probable cause existed. Id. at 238–39.
       Suppression remains an appropriate remedy where the magistrate who issued the
warrant was misled by information in an affidavit that the affiant knew was false or would
have known was false except for his reckless disregard for the truth. Franks v. Delaware,
438 U.S. 154 (1978). “A defendant is not entitled to a [Franks] hearing to determine the
veracity of a search warrant affidavit unless ‘he or she can make a substantial preliminary
showing that a false statement was included in the affidavit (or that relevant information
was omitted from it) intentionally or recklessly.’” United States v. McNeil, 184 F.3d 770,
775 (8th Cir. 1999) (quoting United States v. Mathison, 157 F.3d 541, 547-48 (8th Cir.
1998)). “There must be allegations of deliberate falsehood or of reckless disregard for the
truth, and those allegations must be accompanied by an offer of proof. McNeil, 184 F.3d
at 775-76. “When no proof is offered that an affiant deliberately lied or recklessly


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disregarded the truth, a Franks hearing is not required.” United States v. Moore,
129 F.3d 989, 992 (8th Cir. 1997).
       In order to prevail on a challenge to a warrant affidavit pursuant to Franks v.
Delaware, 438 U.S. 154 (1978), the challenger must show (1) that a false statement
knowingly and intentionally or with reckless disregard for the truth, was included in the
affidavit and (2) that the affidavit’s remaining content is insufficient to establish probable
cause. United States v. Gladney, 48 F.3d 309, 313 (8th Cir. 1995).
              To mandate an evidentiary hearing, the challenger's attack
              must be more than conclusory and must be supported by more
              than a mere desire to cross-examine. There must be
              allegations of deliberate falsehood or of reckless disregard for
              the truth, and those allegations must be accompanied by an
              offer of proof. They should point out specifically the portion
              of the warrant affidavit that is claimed to be false; and they
              should be accompanied by a statement of supporting reasons.
              Affidavits or sworn or otherwise reliable statements of
              witnesses should be furnished, or their absence satisfactorily
              explained. Allegations of negligence or innocent mistake are
              insufficient.
Franks v. Delaware, supra, at 171.
       Further, in order to mandate a hearing, the challenged statements in the affidavit
must be necessary to a finding of probable cause. United States v. Flagg, 919 F.2d 499
(8th Cir. 1990). United States v. Streeter, 907 F.2d 781, 788 (8th Cir. 1990) (contested
material must be "vital" to probable cause). It must also be remembered that although the
affidavit must contain statements that are truthful,
              This does not mean "truthful" in the sense that every fact
              recited in the warrant affidavit is necessarily correct. For
              probable cause may be founded upon hearsay and upon
              information received from informants, as well as upon
              information within the affiant's own knowledge that some
              times must be garnered hastily. But surely it is to be "truthful"
              in the sense that the information put forth is believed or
              appropriately accepted by the affiant as true.


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Franks v. Delaware, supra, at 165. Substantial deference must be given to the magistrate’s
determination of probable cause, and such finding shall not be set aside “unless the issuing
judge lacked a substantial basis for concluding that probable cause existed.” United States
v. Amburn, 412 F.3d 909, 917 (8th Cir. 2005) (citing United States v. Searcy, 181 F.3d
975, 981 (8th Cir. 1999) (quoting United States v. Edmiston, 46 F.3d 786, 788 (8th Cir.
1995)).
       Omissions of facts are not misrepresentations unless they cast doubt on the existence
of probable cause. United States v. Parker, 836 F.2d 1080, 1083 (8th Cir. 1987). The
same analytical process used to determine whether an affidavit contains a material
falsehood is used to determine whether an omission will vitiate a warrant affidavit under
Franks. United States v. Lueth, 807 F.2d 719, 726 (8th Cir. 1986). The defendant must
show that (1) the police omitted facts with the intent to make, or in reckless disregard of
whether they thereby made, the affidavit misleading, and (2) that the affidavit, if
supplemented by the omitted information, would not have been sufficient to support a
finding of probable cause. With respect to the second element, suppression is warranted
only if the affidavit as supplemented by the omitted material could not have supported the
existence of probable cause. Lueth, supra, at 726. Put simply, the defendant must show
that the alleged omissions would have made it impossible to find probable cause. United
States v. Stropes, 387 F.3d 766, 771 (8th Cir. 2004).
       For example, the fact that an informant had a criminal record and was cooperating
under a plea agreement is not critical to the finding of probable cause. Flagg, supra;
United States v. Martin, 866 F.2d 972 (8th Cir. 1989) (omission of fact of informant's
drug addiction of no consequence to determination of probable cause). The fact that the
police omitted information that an informant had been a drug dealer, was cooperating with
the police in order to receive leniency, and was being paid by the police did not warrant
relief in United States v. Wold, 979 F.2d 632 (8th Cir. 1992). See also United States v.
Reivich, 793 F.2d 957 (8th Cir. 1986). It is not necessary to notify the magistrate of an


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informant's criminal history if the informant's information is at least partially
corroborated. United States v. Parker, supra. Similarly, it was not misleading, as a
matter of law, to omit the fact that the informant was the defendant’s sister. United States
v. Johnson, 925 F.2d 1115 (8th Cir. 1991). A defendant’s belief that an informant lacks
credibility and reliability is not crucial to the finding of probable cause when the
informant’s information is at least partially corroborated. United States v. Humphreys,
982 F.2d 254, 258 (8th Cir. 1992) (citing United States v. Flagg, 919 F.2d 499 (8th Cir.
1990); United States v. Parker, 836 F.2d 1080 (8th Cir. 1987).
       In regard to the November 18, 2004 warrant, the defendant argues that the lack of
information concerning the informants’ credibility, reliability, and veracity, resulted in the
warrants being issued without any showing of how the magistrate independently reviewed
the information set forth in the applications or his determination that such information was
in fact corroborated. Specifically, the defendant argues that several significant omissions
resulted in the issuance of the November 18, 2004 search warrant, including (1) the non-
inclusion of information (upon the defendant’s good faith belief) that one of the two
confidential informants is a known drug user and had a long criminal history; (2) the fact
that although the endorsement noted that Officer Pregler was a testifying officer, other law
enforcement reports indicate that Officer Pregler “did not go to obtain [the] search
warrant, but rather remained [on scene] and helped create an operation plan for the
execution of the search warrants”; (3) the absence of any assessment as to the credibility
of the informants; (4) the absence of information that indicated that Michael Gatena and
the defendant lived at separate residences and were arguing and fighting during the time
period in question; (5) the absence of any evidence that criminal activity was, at the
relevant time, being committed at the defendant’s residence; (6) a lack of any nexus
between any past alleged criminal activity, including activities taking place at 11294 Rock
Grove Court and the defendant’s residence; (7) the absence of any labeling or identification
of who the confidential informants are by numbering or other objective identification;


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(8) the fact that boxes indicating reliability of the informants were left unchecked; (9) the
fact that some of the information contained in the affidavit does not, or may not, relate to
the defendant’s residence; (10) the non-inclusion of information that the location of the
cook described in the affidavit was 11294 Rock Grove Ct. #5, rather than the defendant’s
residence, and that officers had been advised that a Kim Koster was living with Michael
Gatena; and (11) a lack of information that the defendant and Michael Gatena were not
getting along and that they had been arguing frequently.
       As concerns the December 30, 2004 search and seizure pursuant to a warrant, the
defendant contends again that several omissions in the warrant application result in the
warrant being invalid. Those omissions include, (1) the fact that although the December
30, 2004 warrant application refers to the search warrant of November 18, 2004 in
establishing probable cause, it is unclear as to whether the warrant of November 18, 2004
referred to concerns the search of the defendant’s residence, or a search that was executed
at 11294 Rock Grove Court #5 on or about November 18, 2004; (2) part of the
information supporting probable cause included the warrantless search of Michael Gatena’s
pickup, which was being driven by the defendant, occurring on December 30, 2004, and
the defendant believes that such search was tainted as there is evidence that Officer Schultz
had to remove some of the items found from the plastic bags and some of the plastic bags
were contained in the passenger compartment of the truck rather than in the open bed;
(3) although the body of the December 30, 2004 search warrant indicates that there were
several intelligence reports to the effect that Michael Gatena was involved in the
manufacture of methamphetamine, there was no identification of the informants, and no
information concerning their reliability or credibility, nor any information concerning the
magistrate’s evaluation of the informant’s information or any verification of that
information.
       Finally, the defendant claims that several important omissions were made in the
application for the June 5, 2005 warrant.         Specifically, the defendant argues that


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(1) although the application makes reference to “intelligence” relating to April and May
of 2005, there is no evaluation or reference to information supplied by any informants, and
accordingly, there is no showing of credibility; (2) the fact that there was an outstanding
arrest warrant for the defendant, which had gone unexecuted for some time, indicates a
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lack of good faith on the part of the officers, and an arrest warrant in and of itself
certainly did not justify a full blown search of the defendant’s residence; and (3) the
application failed to note that a woman named Julie Hoftender had operated Michael
Gatena’s pickup truck on numerous occasions around the time of the incident and had been
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stopped frequently in an effort to execute the arrest warrant upon the defendant.
        The government resists, arguing that the defendant has not satisfied her burden of
setting forth a substantial preliminary showing of a false or reckless statement or omission,
and further that the defendant has not demonstrated that any such false statements or
omissions, if they existed, were necessary to the finding of probable cause for the search
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warrants.       Specifically, the government argues that if the affidavits in question had
contained the omitted or corrected information, as alleged by the defendant, inclusion of
that information would not have undermined the fact that probable cause had been
established.     Specifically in regard to the November 18, 2004 search warrant, the



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      The defendant also points out that the address listed for the defendant on the arrest
warrant was not a valid address for her or for anyone, and that it was well known in the
law enforcement community that the defendant resided at 101 East 29th Street and also
could likely have been located at the Rock Grove Court address.

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      The defendant asserts that she has a good faith belief that these attempts at executing
the arrest warrant on the defendant were not bona fide attempts, but rather “subterfuge
efforts to authorize searches of” Michael Gatena’s pickup.

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      The government reiterates its argument, however, that there is no evidence as to any
of the search warrants in question that the affiant omitted facts with an intent to make the
affidavits misleading.

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government points out that the informant’s attachment indicated that at least one of the two
informants had supplied reliable information on previous occasions, that it was in both
informants’ interest to provide reliable information, that at least one of the informants had
not given false information in the past, and that the information given by the confidential
informants was otherwise corroborated.
       The court finds that the defendant has failed to make the requisite showing,
pursuant to Franks v. Delaware, in regard to any of the three searches conducted pursuant
to a warrant. First, in regard to the November 18, 2004 search warrant, the defendant has
failed to make a substantial preliminary showing that relevant information was omitted
from the affidavit either intentionally or recklessly. See McNeil, 184 F.3d at 775 (internal
citations omitted); Moore, 129 F.3d at 992. The omissions alleged by the defendant do
not rise to the level of “allegations of deliberate falsehood or of reckless disregard for the
truth.” See Id. at 775-76. The court further finds that even if the magistrate had before
him the allegedly omitted information, his finding of probable cause would not have been
undermined. See Gladney, 48 F.3d at 313; Flagg, 919 F.2d at 499; Amburn, 412 F.3d
at 917 (internal citations omitted); Stropes, 387 F.3d at 771. Specifically, information
provided in the affidavit, indicating that (1) on numerous occasions during the 60 days
preceding the warrant the defendant had purchased several bottles of Heet gasoline; (2)
Michael Gatena was at the defendant’s residence picking up iodine crystals and information
that the defendant had numerous cases of matches, several bottles of Heet, and glassware
at her residence; and (3) information that the informant had seen the defendant process
iodine into iodine crystals only one day before the search warrant was issued, sufficiently
amounted to probable cause to search the defendant’s residence. Further, the fact that one
of the two informants may have been a long time drug user and may have had an extensive
criminal history is not critical to the finding of probable cause. See Flagg, 919 F.2d at
499; Martin, 866 F.2d at 972; Wold, 979 F.2d at 632; Reivich, 793 F.2d at 957.




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      Likewise, the court finds that the defendant has failed to make a substantial showing
that relevant information was omitted from the affidavits in support of probable cause
either intentionally or recklessly in regard to the December 30, 2004 warrant or the June
5, 2005 warrant, or that the allegedly omitted information, set forth by the defendant,
would have served to undermine the Magistrate Judge’s finding of probable cause. See
McNeil, 184 F.3d at 775; Stropes, 387 F.3d at 771.
      For the reasons discussed above, IT IS RECOMMENDED, unless any party files
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objections to the Report and Recommendation within ten (10) days of the date of the
report and recommendation, that the defendant’s motion to suppress (docket number 46)
be denied as it relates to the defendant’s request for a Franks hearing. Hearing shall be
set on the defendant’s motion to suppress evidence arising out of the three warrantless
searches.
      September 7, 2005.




      7
         Any party who objects to this report and recommendation must serve and file
specific, written objections within ten (10) court days from this date. A party objecting
to the report and recommendation must arrange promptly for a transcription of all portions
of the record the district court judge will need to rule on the objections.

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